        Case 3:25-cv-01766-EMC         Document 64    Filed 03/07/25   Page 1 of 7




1    Ahilan T. Arulanantham (SBN 237841)
     arulanantham@law.ucla.edu
2    Stephany Martinez Tiffer (SBN 341254)
     martineztiffer@law.ucla.edu
3    CENTER FOR IMMIGRATION LAW AND
     POLICY, UCLA SCHOOL OF LAW
4    385 Charles E. Young Dr. East
     Los Angeles, CA 90095
5    Telephone: (310) 825-1029

6    Emilou MacLean (SBN 319071)
     emaclean@aclunc.org
7    Michelle (Minju) Y. Cho (SBN 321939)
     mcho@aclunc.org
8    ACLU FOUNDATION
     OF NORTHERN CALIFORNIA
9    39 Drumm Street
     San Francisco, CA 94111-4805
10   Telephone: (415) 621-2493
     Facsimile: (415) 863-7832
11
     Attorneys for Plaintiffs
12   [Additional Counsel Listed on Next Page]

13                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                   SAN FRANCISCO DIVISION
15
     NATIONAL TPS ALLIANCE, MARIELA                  Case No. 3:25-cv-1766-EMC
16   GONZÁLEZ, FREDDY JOSE ARAPE RIVAS,
     M.H., CECILIA DANIELA GONZÁLEZ                  CORRECTED DECLARATION OF
17   HERRERA, ALBA CECILIA PURICA                    MARIELA GONZALEZ IN SUPPORT
     HERNÁNDEZ, E.R., and HENDRINA                   OF PLAINTIFFS’ MOTION TO
18   VIVAS CASTILLO,                                 POSTPONE EFFECTIVE DATE OF
                                                     AGENCY ACTION
19                 Plaintiffs,
            v.
20
     KRISTI NOEM, in her official capacity as
21   Secretary of Homeland Security, UNITED
     STATES DEPARTMENT OF HOMELAND
22   SECURITY, and UNITED STATES OF
     AMERICA,
23                 Defendants.
24

25

26

27

28
                                            1
          CORRECTED DECLARATION OF MARIELA GONZALEZ – CASE NO. 3:25-CV-1766-EMC
        Case 3:25-cv-01766-EMC           Document 64     Filed 03/07/25   Page 2 of 7




1    Additional Counsel for Plaintiffs

2    Jessica Karp Bansal (SBN 277347)
     jessica@ndlon.org
3    Lauren Wilfong (Pro Hac Vice Application Pending)
     lwilfong@ndlon.org
4
     NATIONAL DAY LABORER
5    ORGANIZING NETWORK
     1030 S. Arroyo Parkway, Suite 106
6    Pasadena, CA 91105
     Telephone: (626) 214-5689
7

8    Eva L. Bitran (SBN 302081)
     ebitran@aclusocal.org
9    ACLU FOUNDATION
     OF SOUTHERN CALIFORNIA
10
     1313 West 8th Street
11   Los Angeles, CA 90017
     Telephone: (213) 977-5236
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                             2
            CORRECTED DECLARATION OF MARIELA GONZALEZ – CASE NO. 3:25-CV-1766-EMC
      Case 3:25-cv-01766-EMC         Document 64      Filed 03/07/25     Page 3 of 7




 1                       DECLARATION OF MARIELA GONZÁLEZ
 2         I, Mariela González, declare:
 3         1.      I have personal knowledge of the facts set forth in this declaration. If called
 4 upon to testify as a witness, I could do so and would testify to these facts.
 5         2.      I live in San Mateo, California and am employed in an urban public school
 6 district as an instructional coach, after previously working as a middle school teacher. My
 7 entire family are U.S. citizens and live in the United States.
 8         3.      I have lived in the United States since 2011, and I first applied for
 9 Temporary Protected Status (TPS) in 2021. After former Secretary of Homeland Security
10 Alejandro Mayorkas extended the TPS designation for Venezuela until October 2, 2026, I
11 immediately filed to renew my TPS status and employment authorization because I rely on
12 that protection. On January 21, 2025, I received a receipt indicating that my work
13 authorization was automatically extended for up to 540 days from the date of the receipt,
14 January 21, 2025. However, on February 3, 2025, Secretary of Homeland Security Kristi
15 Noem vacated that extension of TPS. Under that order, my current TPS status and related
16 work authorization will now expire on September 10, 2025, although I still have the receipt
17 saying it is good until 2026.
18         4.      I am a member of the National TPS Alliance, and joined voluntarily because
19 I believe in the mission of the organization to defend TPS and TPS holders. I am eager to
20 participate in activities of the Alliance.
21         5.      I am submitting this declaration to describe the harm I have suffered since
22 the announcement of the vacatur of the extension TPS for Venezuela and the harm my
23 family and I would suffer if TPS is ultimately terminated.
24                                              Background
25         6.      I am from Caracas, Venezuela, and I have been in the United States since
26 2011. I came under a J1 visa with an organization called Cultural Care: Au Pair. I worked
27 as a nanny with an American family located in Chicago, Illinois for two years. I came to
28 this country with the sole purpose of learning a new language and having the opportunity
     Case 3:25-cv-01766-EMC         Document 64      Filed 03/07/25    Page 4 of 7




 1 to get to know a culture different than mine. I thought I would do the program for only one
 2 year. However, I found that wasn’t enough time for me to learn to speak English
 3 proficiently, so I decided to extend my visa for one more year.
 4         7.     In 2013, my then-partner Guillermo came to the United States and we got
 5 married. By that time, the political climate in my home country had become very hostile
 6 and Guillermo feared persecution from the government. He planned to seek asylum. The
 7 law firm that we initially hired to help us with Guillermo’s asylum case charged us
 8 increasing sums of money but never actually filed the application. We paid them a total of
 9 about $12,000, which was a lot of money for us. Ultimately, we realized that we were
10 being scammed, and Guillermo filed the asylum application on his own around December
11 2013. I was included on his asylum application as his wife. For the next nine years, our
12 application remained pending. We were never called for an interview. In December 2022,
13 Guillermo and I divorced and, to this day, I do not know what happened with that case.
14         8.     In 2021, former President Joe Biden designated TPS for immigrants from
15 Venezuela. By that time, my marriage was facing problems. I realized that if I separated
16 from my husband, I would no longer have work authorization as an asylum applicant. I
17 desperately needed protection from deportation and work authorization. I registered for
18 TPS in 2021, and have held valid TPS status since that time.
19         9.     My immediate family members all reside in the United States, and they are
20 all U.S. citizens. My father, mother, and brother reside in Florida. My brother and his wife
21 have two children, my nephews, both born in the United States. My sister and her husband
22 live in Chicago. I am the only member of my family who has been unable to obtain
23 permanent immigration status in the United States, a fact which is very painful for me. My
24 mother recently filed an I-130 petition for me, but my immigration lawyer told me that I
25 will have to wait 10 or more years for a visa to become available to use that petition to
26 seek a green card.
27
28
     Case 3:25-cv-01766-EMC         Document 64      Filed 03/07/25    Page 5 of 7




 1                               Impact of Temporary Protected Status
 2         10.    Thanks to TPS, I have been able to maintain legal work authorization in the
 3 United States and continue my career as a teacher. In 2014, I took an important step in my
 4 professional journey and moved from Chicago to San Francisco, where I began working as
 5 a middle school teacher. My current position is as an instructional coach with an urban
 6 school district. In that role, I provide support, guidance and mentorship to new teachers.
 7 Teaching is not just my profession—it is my passion and my way of contributing to the
 8 community that has become my home.
 9         11.    Over the years, I have worked tirelessly to provide students with a quality
10 education, helping to shape the next generation and support young minds in their academic
11 and personal growth. Through my role as an educator, I have formed meaningful
12 connections, contributed to my school district, and established deep roots in this country.
13 TPS has allowed me to remain in the workforce and be a productive member of society. It
14 has given me the ability to live with dignity and security, something I could not have
15 achieved in Venezuela.
16                              Impact of the Decision to Terminate TPS
17         12.    The decision to terminate TPS for Venezuela would have devastating
18 consequences for me and my family. I have lived in the United States for nearly 14 years,
19 building a stable and meaningful life. My family members are here, and they are all
20 American citizens. This country is my home. Since learning of this administration’s
21 decision to vacate the extension of TPS, I have experienced a lot of fear and anxiety. It’s
22 hard to focus on daily tasks because of the looming threat of losing my immigration status.
23         13.    If TPS is revoked, I stand to lose everything. Without the ability to work, I
24 cannot support myself and would likely lose my housing and all sense of stability. I would
25 have to abandon my career, my livelihood, and everything I have worked so hard to build.
26 I have spent years working diligently, paying taxes, and contributing to my community
27 with integrity. I have never committed a crime, and my only desire is to remain lawfully in
28 the United States, close to my family, and continue making a positive impact as an
     Case 3:25-cv-01766-EMC         Document 64      Filed 03/07/25    Page 6 of 7




 1 educator. I waited patiently for years for my ex-husband’s asylum application to be
 2 reviewed—and it never was; it’s hard to believe that now my own legal status is at risk of
 3 being terminated with almost no notice or opportunity to plan. I am terrified at the prospect
 4 of suddenly becoming undocumented and without work authorization in the country that
 5 has been my home for the last 14 years.
 6         14.    I am equally terrified at the prospect of being forced to return to Venezuela,
 7 where I would face dangerous conditions of insecurity, poverty, food insecurity, and lack
 8 of healthcare. Venezuela is under the control of a dictatorship, where political persecution,
 9 economic collapse, and social unrest continue to make life unsafe and unbearable. I have
10 no house, no job, and no immediate family to go back to in Venezuela. I would face
11 unemployment, housing and food instability. I do not know how I would survive. I would
12 also face an indefinite separation from my U.S. citizen family members. I have a beloved
13 dog as well from whom I cannot imagine being separated.
14         15.    My Venezuelan passport is expired, and there is no way to renew it because
15 of the lack of diplomatic relations, so even if I were to try to travel back to Venezuela or
16 flee somewhere else, I believe that I would be unable to do so.
17         16.    The uncertainty around the future of TPS status is causing me significant
18 anxiety and distress. I avoid talking about my immigration status with friends and
19 coworkers because I don’t want to have to explain that I may lose my status. I am finding
20 myself distracted at work, and am losing sleep. Being forced to leave the United States
21 would strip me of the stability and opportunities I have fought to secure. I want nothing
22 more than to continue my career, maintain my lawful status, and live with the dignity that
23 every hardworking individual deserves. TPS has given me the opportunity to build a
24 future, and losing it would mean losing everything I have worked for.
25 //
26 //
27 //
28 //
     Case 3:25-cv-01766-EMC        Document 64       Filed 03/07/25    Page 7 of 7




 1         17.    I declare under penalty of perjury that the foregoing is true and correct, and
 2 that this declaration was executed at San Francisco, California this 18th day of February,
 3 2025.
 4                                                          ____________________
                                                            _ Mariela González
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
